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November 12, 2024

BY CM/ECF AND HAND DELIVERY

Duty Judge
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street - Unit 38
Room 4104
Wilmington, DE 19801

     Re:       Realtek Semiconductor Corporation v. Avago Technologies International
               Sales PTE. Ltd., et al., C.A. No. 24-1235-UNA

Dear Duty Judge:

       I write on behalf of Defendants with respect to the Motion for Expedited Briefing. D.I.
11. As noted by the docket entry this afternoon, Plaintiff did not meet and confer with Defendants
pursuant to Local Rule 7.1.1 prior to filing the motion. We have reached out to Plaintiff to
schedule a meet and confer and hope to obviate the need for the Court to rule on the motion.

         If the Court has any questions, counsel remains available at the Court’s convenience.

                                                     Respectfully,

                                                     /s/ Kelly E. Farnan

cc: All Counsel of Record (By CM/ECF)                 Kelly E. Farnan (#4395)




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